Case 3:03-cv-00645-CRS-JDM Document 1-2 Filed 10/23/03 Page 1 of 1 PagelD #: 9

(Ror 12/86) @ cCIVILCOVER SHE

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and Servier plosslics r Y papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United ior 9 ig required for the use
of the Clerk of Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF TAHE 18

I. (a) PLAINTIFFS DEFENDANTS wioteRh \: 28
SHANNON JOHNSON, KENNETH WEEKS, LOUISVILLE/J EFFIRSOR TRAN METRO ’
BRANDON CAIN MATTHEW CORDER 3 O 3 C V. G Y5- S
(b) county of ResiDENce oF FinsTusTeD PLAINTIFF Jefferson COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT _ Jefferson
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
TRACT OF LAND INVOLVED.

(C) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER) ATTORNEYS (iF KNOWN)
William D. Nefzger, O*KOON HINTERMEISTER Jeffrey L. Freeman, Asst. Jefferson Co. Attorney
1100 PNC Plaza, 500 W. Jefferson St. 400 South Sixth Street
Lou., KY 40202 502/581-1630 Lou., KY 40202 502/574-2167
NN. BASIS OF JURISDICTION (PLACE AN “x” INONE BOxoNty) | III. CITIZENSHIP OF PRINCIPAL PARTIES (Ptce AN "x" IN ONE 80x FOR PLAINTIFF
(For Diversity Cases Only) AND ONE BOX FOR DEFENDANT)
PTF DEF PTF DEF
o1 U.S. Government {2 Federal Question Citizen of This State o1 q1 Incorporated or Principal Place O4 O4
Plaintiff (U.S. Government Not a Party) of Business In This
O12 U.S. Government O 4 Diversity Citizen of Another State 02 02 Incorporated and Principal Place O05 05
Defendant (Indicate Citizenship of Parties of Business In Another State
in tem ttl) Citizen or Subject of a3 03 Foreign Nation os o8
Foreign Country
IV. ORIGIN (PLACE AN “X” IN ONE BOX ONLY) Appeal to District
Transferred from Judge from
oO 1 Original X 2 Removed from oOo 3 Remanded from c 4 Reinstated or 05 another district D 6 Multidistrict 0 7 Magistrate
Proceeding State Court Appellate Court Reopened (specify) Litigation Judgment
V. NATURE OF SUIT (PLACE AN “X” IN ONE BOX ONLY)
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
1 110 Insurance PERSONAL INJURY PERSONAL INJURY D 610 Agricutture (C) 422 Appeal 28 USC 158 | D 400 State Reapportionment
0 120 Marine 1 $10 Airplane C 362 Personal injury — (C 620 Other Food & Drug (410 Antitrust
0 130 Miller Act D 318 Alrplane Product Med. Malpractice (0 625 Drug Related Seizure | () 423 Withdrawal © 430 Banks and Banking
C 140 Negotiable instrument Labliity (0 385 Personal injury ~ of Property 21 USC 881 28 USC 157 (Cl 450 Commerce/ICC Rates/etc.
D 150 Recovery of Overpayment 1D 320 Assault, Libel & Product Llabiity (0 680 Liquor Laws 1D 460 Deportation
& Enforcement of Judgment Slander (2 368 Asbestos Personal CO 640 R.A. & Truck PROPERTY RIGHTS | 1 470 Racketeer influenced and
D 151 Medicare Act C 390 Federal Employers’ Injury Product Liability | (] 650 Airline Regs. 820 Copyright Corrupt Organizations
DD 182 Recovery of Defaulted Liability © 860 Occupational a 330 Pate s D 810 Selective Service
Student Loans C2 340 Marine PERSONAL PROPERTY Safety/Health 1 840 Trademark (C 880 Securities/Commodities/
(Excl. Veterans) O45 Marine Product C370 Other Fraud 1 690 Other Exchange
OD 183 Recovery of Overpayment O $71 Truth in Lending OD 875 Customer Chalienge
ofVeteran's Benefts |) 380 Motor Vehicle 1] 380 Other Personal LABOR SOCIAL SECURITY 12 USC 3410
C2 160 Stockhokders’ Sutts DI 355 Motor Vehicle Property Damage C891 Agricuttural Acts
0 190 Other Contract Product Liability () 385 Property Damage 0 710 Falr Labor Standards | C) 861 HIA (1395ff) G 892 Economic Stabilization Act
0 195 Contract Product Liability 1D 980 Other Personal Injury Product Liabitity Act C) 6€2 Black Lung (923) (C) 893 Environmental Matters
C0 720 Labor/Mgmt. Relations | 2 863 DIWC/DIWW (405(g)) | 1 894 Energy Allocation Act
REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS a oes As (405 ” 1 895 Freedom of
B ne Land roncemnation G az voting t C810 Motlons to Vacate O70 & Disclosure Act ne 0 900 Aoveal of Fee Determination
‘Oreciosure mploymen .
1 290 Rent & Ejectment © 443 Housing/ o HABEAS CORPUS: D740 Railway Labor Act FEDERAL TAX SUITS 0 880 Conan sonality of to Justice
O 240 Torts to Land Accommodations o State Statutes
D 835 Death Penalty 790 Other Labor Litigation D 870 Taxes (U.S. Plaintitt
C 246 Tort Product Liability 444 Welfare 0 640 amus & Other Defendant (C0 890 Other Statutory Actions
[J 290 All Other Real Property Kuo Other Civil Rights Mana © 701 Empl. Ret. inc. or ant)
0 550 Civil Rights Securtty Act D 871 IRS — Third Party
(I 855 Prison Condition rity 26 USC 7608

VI. CAUSE OF ACTION = (cite THE US. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE BRIEF STATEMENT OF CAUSE.
DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY.)

2 U.S.C. Section 1983 -- False arrest, imprisonment, excessive force, other unspecified
Vil. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: © UNDER F.R.C.P 23 JURY DEMAND: O Yes ONO
Vill. RELATED CASE(S) (See instructions):
IF ANY JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
lo { 2u ( % Chet Reaver
FOR OFFICE USE ONLY

RECEIPT #________ AMOUNT._____________ APPLYING IFP. JUDGE MAG. JUDGE

